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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                   BALTIMORE DIVISION

   JASON ALFORD, DANIEL LOPER, WILLIS
   MCGAHEE, MICHAEL MCKENZIE, JAMIZE
   OLAWALE, ALEX PARSONS, ERIC SMITH,
   CHARLES SIMS, JOEY THOMAS, and LANCE
   ZENO, Individually and on Behalf of All Others
   Similarly Situated,
                                                           Case No. 1:23-cv-00358-JRR
                                 Plaintiffs,

                   vs.

   THE NFL PLAYER DISABILITY & SURVIVOR
   BENEFIT PLAN; THE NFL PLAYER
   DISABILITY & NEUROCOGNITIVE BENEFIT
   PLAN; THE BERT BELL/PETE ROZELLE NFL
   PLAYER RETIREMENT PLAN; THE
   DISABILITY BOARD OF THE NFL PLAYER
   DISABILITY & NEUROCOGNITIVE BENEFIT
   PLAN; LARRY FERAZANI; JACOB FRANK;
   BELINDA LERNER; SAM MCCULLUM;
   ROBERT SMITH; HOBY BRENNER; and
   ROGER GOODELL,

                                 Defendants.


                  PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs respectfully move

the Court to certify the following class (“Class”), defined as:

               All participants in the Plan who filed one or more applications for one or
               more categories of disability benefits under the Plan between August
               1, 1970 and [the date of class certification] and are members of at least
               one of the five Subclasses, defined as the T & P SUBCLASS, the
               ACTIVE SUBCLASS, the LOD SUBCLASS, the NC SUBCLASS,
               and the FIDUCIARY SUBCLASS.

               “The Plan” includes the NFL Player Disability & Survivor Benefit Plan
               (formerly the NFL Player Disability, Neurocognitive & Death Benefit
               Plan, the NFL Player Disability & Neurocognitive Benefit Plan, the
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               NFL Player Supplemental Disability & Neurocognitive Benefit Plan,
               and the NFL Player Supplemental Disability Plan); the Bert Bell/Pete
               Rozelle NFL Player Retirement Plan; the Bert Bell NFL Player
               Retirement Plan; and the Pete Rozelle NFL Player Retirement Plan.

       In addition, Plaintiffs move the Court to certify the following five Subclasses, defined as:

               (a) The T & P SUBCLASS: All members of the Class who filed one
                   or more applications for Total & Permanent Disability benefits
                   under the Plan; received an adverse determination as part of at least
                   one such application(s) between August 9, 2019 and [the date of
                   class certification]; and are not members of the ACTIVE
                   SUBCLASS.

               (b) The ACTIVE SUBCLASS: All members of the Class who filed
                   one or more applications for Total & Permanent Disability benefits
                   under the Plan; received an adverse determination as part of at least
                   one such application between August 9, 2019 and [the date of class
                   certification]; and were within the timeframe to qualify for Active
                   Football or Active Nonfootball Total & Permanent Disability
                   benefits at the time that they applied.

               (c) The LOD SUBCLASS: All members of the Class who filed one or
                   more applications for Line-of-Duty Disability Benefits under the
                   Plan and received an adverse determination as part of at least one
                   such application between August 9, 2019 and [the date of class
                   certification].

               (d) The NC SUBCLASS: All members of the Class who filed an
                   application for Neurocognitive Disability benefits under the Plan
                   and received an adverse determination as part of at least one such
                   application between August 9, 2019 and [the date of class
                   certification].

               (e) The FIDUCIARY SUBCLASS: All members of the Class who
                   filed an application for one or more categories of disability benefits
                   under the Plan between August 1, 1970 and [the date of class
                   certification]. 1

       Relatedly, Plaintiffs also respectfully move the Court for the appointment of (i) Plaintiffs

Jason Alford, Willis McGahee, Michael McKenzie, Jamize Olawale, Alex Parsons, Charles Sims,


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      These definitions are based on the information available to Plaintiffs as of the date of this
filing. Plaintiffs reserve the right to refine these definitions as further information becomes
available over the course of discovery.



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Eric Smith, Joey Thomas, and Lance Zeno as Class Representatives and as Subclass

Representatives of the Fiduciary Subclass; (ii) Plaintiffs McGahee, McKenzie, Olawale, and Smith

as Subclass Representatives of the T&P Subclass; (iii) Plaintiff Sims as Subclass Representative

of the Active Subclass; (iv) Plaintiff Olawale as Subclass Representative of the LOD Subclass; (v)

Plaintiffs Alford, Smith, Thomas, and Zeno as Subclass Representatives of the NC Subclass; and

(vi) pursuant to Federal Rule of Civil Procedure 23(g)(1), of Seeger Weiss LLP; Athlaw LLP; and

Aylstock, Witkin, Kreis, & Overholtz, PLLC as Counsel for the Class and for the Subclasses; and

of Migliaccio & Rathod LLP as Liaison Counsel for the Class and for the Subclasses.

       The reasons supporting this motion are set forth in the accompanying memorandum of law.

A proposed Order also accompanies this motion.

       WHEREFORE, Plaintiffs respectfully request that the Court certify the above-defined

Class and Subclasses and make the above-enumerated appointments.

Dated: September 3, 2024

                                             Respectfully submitted,

                                             MIGLIACCIO & RATHOD LLP

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